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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                             )
AMERICAN CIVIL LIBERTIES UNION               )
FOUNDATION, as Next Friend, on behalf        )
of Unnamed U.S. Citizen,                     )
                                             )
                Petitioner,                  )
                                             )
      v.                                     )       Case No. 17-cv-2069 (TSC)
                                             )
GEN. JAMES N. MATTIS, in his official        )
Capacity as SECRETARY OF DEFENSE,            )
                                             )
                Respondent.                  )
                                             )


                                            ORDER

          For the reasons set forth in the accompanying Memorandum Opinion, the court hereby

DENIES Respondent’s Motion to Dismiss (ECF No. 11). Respondent is hereby ordered to: (1)

permit the ACLUF immediate and unmonitored access, in person or via videoconferencing, to

the detainee for the sole purpose of determining whether the detainee wishes for the ACLUF to

continue this action on his behalf; and (2) refrain from transferring the detainee until the ACLUF

informs the court of the detainee’s wishes. The Defense Department may renew its motion to

dismiss should the court learn that the detainee does not wish for the ACLUF to continue this

action.


Date: December 23, 2017


                                             Tanya S. Chutkan
                                             TANYA S. CHUTKAN
                                             United States District Judge        
